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 9   ROBERT ALVIN JUSTUS, JR.
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11                                  UNITED STATES DISTRICT COURT
12                                NORTHERN DISTRICT OF CALIFORNIA
13                                            OAKAND DIVISION
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     UNITED STATES OF AMERICA,                            Case No. 4:20-cr-00265-YGR
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                   Plaintiff,                             DEFENDANT JUSTUS STATUS REPORT
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                   v.                                     BEFORE THE HONORABLE YVONNE
18                                                        GONZALEZ ROGERS, DISTRICT JUDGE
19   ROBERT ALVIN JUSTUS, JR.,                            Hearing Date: September 7, 2022
20                 Defendants.                            Hearing Time: 9:00 a.m.
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25          Mr. Justus files this status report in advance of the September 7, 2022 hearing in this case to

26   apprise the Court that on August 31, 2022, he submitted to the government a settlement proposal for his

27   case. Mr. Justus’ settlement proposal and supporting documentation contain approximately 250 pages.

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                                            JUSTUS STATUS REPORT
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 1   The parties plan to meet and confer further on the subject of settlement once the government has had
 2   time to review Mr. Justus’ submission.
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             While Mr. Justus is still available to appear before the Court at the September 7, 2022 status
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     hearing, should the Court prefer to reschedule to a later date, the defense is available to appear for a
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     hearing on any future Wednesday beginning in October except for October 19, 2022 and November 23,
 6
     2022.
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                                                   Respectfully submitted,
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10                                                 RICHARD G. NOVAK
                                                   SHAFFY MOEEL
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12
                                                   /s/Shaffy Moeel__
13                                                 SHAFFY MOEEL
                                                   Attorneys for Robert Alvin Justus, Jr.
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                                             JUSTUS STATUS REPORT
